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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

FTX TRADING LTD. et al.,1                                            Case No. 22-11068 (JTD)

                                    Debtors.                         (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX                                        Adv. Proc. Case No. 23-50444 (JTD)
TRADING LTD.,

                  Plaintiffs,

vs.

PLATFORM LIFE SCIENCES, INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                  Defendants.

            SUPPLEMENTAL DECLARATION OF DR. EDWARD J. MILLS
            IN SUPPORT OF MOTION UNDER RULE 12(B)(2) TO DISMISS
         COMPLAINT FOR LACK OF PERSONAL JURISDICTION ON BEHALF
         OF PLATFORM LIFE SCIENCES, INC., A CANADIAN CORPORATION

         I, Dr. Edward J. Mills, pursuant to 28 U.S.C. § 1746, hereby submit this declaration (the

“Declaration”) under penalty of perjury:




1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063 respectively. A complete list of the Debtors and the last four digits of their federal tax identification numbers
may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The
principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex,
Friars Hill Road, St. John’s, Antigua and Barbuda.
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          1.        I am the Chief Executive Officer of Platform Life Sciences Inc., a Canadian

corporation with its principal place of business in British Columbia, Canada (“PLS Canada”).

          2.        I submit this Supplemental Declaration in further support of the Motion Under Rule

12(b)(2) to Dismiss Complaint for Lack of Personal Jurisdiction on Behalf of Platform Life

Sciences, Inc., a Canadian Corporation [Dkt. 35] (the “Motion”).2 By the Motion, PLS Canada

moves to dismiss the claims in this adversary proceeding asserted against PLS Canada by Plaintiffs

Alameda Research Ltd., a British Virgin Islands company (“Alameda”) and FTX Trading Ltd., a

corporation registered in Antigua and Barbuda (“FTX Trading” and, together with Alameda, the

“Plaintiffs”), on the basis that the Court lacks personal jurisdiction over PLS Canada.

          3.        I have personal knowledge of the facts set forth herein. If called as a witness, I

would testify as to those facts.

           4.       Contrary to the Plaintiffs’ assertions, PLS Canada had no control over the

utilization by its Canadian bank, CIBC, of a correspondent bank account at Wells Fargo.

According to its website, CIBC apparently utilizes Wells Fargo as a correspondent bank as a matter

of procedure for all funds transferred in U.S. Dollars. Attached as Exhibit A hereto is a print-out

from        CIBC’s       website      (https://www.cibc.com/en/personal-banking/ways-to-bank/sending-

receiving-wire-transfers.html). PLS Canada had no hand in directing the process by which funds

flowed into its Canadian bank.

           5.       To correct the Plaintiffs’ assertion that PLS Canada utilized only U.S counsel in

connection with the Services Agreement and the SAFE, PLS Canada also utilized the services of

Canadian counsel at Goodmans LLP, one of Canada’s leading law firms.




2
    Capitalized terms used herein that are not otherwise defined have the meanings ascribed to them in the Motion.

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      6.       Contrary to the Plaintiffs’ assertions, PLS Canada has conducted no clinical trials

in the United States. The Plaintiffs incorrectly allege that PLS Canada operates 83 clinical trial

sites in the U.S., including in collaboration with CVS. It does not. The draft presentation on which

this allegation is based reflects PLS Canada’s existing business and ideas for future business,

including its hopes for future expansion into the U.S., and what it hoped might be a project with

CVS that never made it past the initial idea stage. In fact, CVS ceased their clinical trial program

earlier this year. Attached as Exhibit B hereto is a print-out from a healthcare reporting website

showing       that        CVS      has      ceased       their      clinical      trial     program

(https://www.fiercehealthcare.com/retail/cvs-closing-down-clinical-trials-business-after-2-years).

PLS Canada has never had a business affiliation with CVS, or the potential “experts and access

sites” in the U.S. identified in the draft presentation. PLS Canada’s business, from the outset, has

been to develop clinical trial sites in developing countries, including Brazil, Rwanda, South Africa,

Pakistan, the Bahamas and Canada. It does not operate clinical trial sites, or conduct business

operations, in the U.S.

      7.       To correct the Plaintiffs’ assertion, PLS Canada does not have an office or principal

place of business in the U.S. PLS Delaware was formed in March 2022, around the same time as

the transactions, at Latona’s request. PLS Delaware is used for the sole and exclusive purpose of

processing payroll and providing benefits to PLS Canada’s U.S. employees. PLS Delaware has

never been utilized as anything other than a payroll processing entity and had no involvement with

the transactions at issue. The agreements were between PLS Canada and non-U.S. Plaintiffs and

Latona; PLS Delaware was not a party to these agreements. PLS Delaware has no offices, no

business operations and generates no revenues. PLS Delaware has never functioned as an

operating entity.



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       8.     Contrary to the Plaintiffs’ assertions, PLS Canada’s leadership and decisionmaking

is not from the U.S. I am the founding member of PLS Canada, a member of the board, the current

CEO (since May 2023) and former Chief Scientific Officer. I live and work for PLS Canada in

Canada. Since its founding in Canada in February 2021, I have served in the primary leadership

role in the company.

       9.     Also contrary to the Plaintiffs’ assertions, Mr. Michael Zimmerman (a prior

member of the board and the prior CEO of PLS Canada), lived and worked for PLS Canada in

Canada during his tenure with PLS Canada until his departure from the company in May 2023.

Attached hereto as Exhibit C are rental contracts for Mr. Zimmerman’s residence in Vancouver,

Canada for the period from July 4, 2022 to October 13, 2022 and December 1, 2022 to May 31,

2023 (redacted). Prior to that time, Mr. Zimmerman was in Canada on a regular basis, residing at

the Granville Island Hotel in Vancouver, close to the PLS Canada headquarters. See Exhibit C.

       10.    Dr. Mark Dybul (who has served as the executive chairman since 2022) is a world

renowned scientist and professor at Georgetown University and is located the U.S. Dr. Dybul has

virtually attended PLS Canada board meetings from both the U.S. and abroad. He is not a member

of management or an employee of PLS Canada.

       11.    The Plaintiffs’ assertions with respect to Mr. Ross Rheingens-Yoo are also

incorrect. Mr. Ross Rheingens-Yoo was not involved in the transactions at issue here on behalf

of PLS Canada (rather, he acted on behalf of the counter-parties, Latona and FTX Foundation).

Pursuant to the terms of the transactions, Mr. Rheingens-Yoo has served on the board of PLS

Canada from June 6, 2022, but has not been an active participant in board activities or

decisionmaking (he attended 2 of the 3 board meetings held during the period following his

appointment to the board). Until July 2023, Mr. Rheingens-Yoo resided in the Bahamas and then



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Hong Kong, and he attended both of the PLS Canada board meetings virtually from abroad, not

the U.S.

       12.     The Plaintiffs are incorrect when they assert that the leadership of PLS Canada is

in the U.S. To the contrary, PLS Canada’s leadership team, headed by me and Mr. Zimmerman

(until his departure in May 2023), has been based in Canada, and includes Chief Operating Officer

Dr. Jamie Forrest and CFO Chris Clarke; both of whom are Canadian citizens and residents.

       13.     The information relied on by the Plaintiffs with respect to the assertions regarding

the location of leadership is not accurate. First, the “Our Team” tab reflected on PLS Canada’s

website print-out is not, as the Plaintiffs claim, entitled “PLS Leadership Team.” In addition, the

website print-out referred to by the Plaintiffs reflects out-of-date information (for example, Melissa

Bomben is no longer with the company), and it is otherwise not reflective of the leadership of the

company (for example, Bob Battista, Twanna Davis and Katie Winter do not hold executive

leadership positions with the company).

      14.      As set forth in my prior Declaration (¶ 7), PLS Canada utilizes remote employees

that are based in the U.S. Contrary to the Plaintiffs’ assertions, however, these remote employees

are not in leadership or management roles with the company. There is no principal office or

location where the PLS Canada remote employees work from in the U.S., nor do they provide

services to an entity located in the U.S. – they provide services solely to PLS Canada in aid of the

development of clinical trial sites in underrepresented non-U.S. nations. The remote employees

could perform their employment functions for PLS Canada from any location; some just happen

to live, and work from, various cities and states in the United States.

      15.      The Plaintiffs’ assertions with respect to my ties to the U.S. are incorrect. As noted

above, I am PLS Canada’s founder and CEO and hold the primary management and leadership



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role at PLS Canada. I am the spokesperson for PLS Canada in connection with this matter and it

would be highly disruptive to impose jurisdiction over PLS Canada, compelling it, through me as

its CEO, to litigate in this Court. I live and work in Vancouver, Canada. For over 16 years, I have

been a professor at McMaster University in Ontario and I am also a professor at the University of

Rwanda. In 2021, I founded PLS Canada in Vancouver. I have not to date been active as a senior

scientist with Virx@Stanford (which is a global pandemic response initiative made up of

academics from all over the world, it is not a position at Stanford University in Palo Alto,

California), but any work related to this initiative would be done from Canada, in coordination

with PLS Canada’s clinical trial site partners in Brazil and other developing nations. I also worked

at the Vancouver office of Cytel Canada, after Cytel, Inc. (which, according to its website, has

operations across North America, Europe, Asia and India) acquired the Vancouver company I co-

founded, MTEK Sciences, in 2019. Attached hereto as Exhibit D and Exhibit E are print-outs of

Cytel, Inc.’s website showing Cytel’s global locations (https://www.cytel.com/about-us) and an

article         regarding   Cytel,   Inc.’s     acquisition   of   MTEK      Sciences    in    2019

(https://www.labmanager.com/cytel-acquires-mtek-sciences-further-expanding-its-advanced-

real-world-analytics-capabilities-578).

          16.       The Plaintiffs’ assertions that PLS Canada publishes in U.S. medical journals is

incorrect and improperly merges the academic work of scientists with company business activities.

I, along with my academic co-author researchers, have published articles in the New England

Journal of Medicine (and these publications are generally searchable via PubMed). Contrary to

the Plaintiffs’ assertion, the Lancet is a British journal. These are worldwide publications (or

searchable databases) available to the global medical community.           Attached as Exhibit F,

Exhibit G and Exhibit H hereto are print-outs of from these publications demonstrating their



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global reach (https://www.nejm.org/about-nejm/about-nejm (“The New England Journal of

Medicine (NEJM) is recognized as the world’s leading medical journal and website. Published

continuously for over 200 years, NEJM delivers high-quality, peer-reviewed research and

interactive clinical content to physicians, educators, researchers, and the global medical

community.”); https://www.thelancet.com/about-us (“The Lancet journals are both a destination

for publication and a platform to advance the global impact of research. The Lancet Group cares

that your work is highly visible to a global network of researchers, clinicians, industry

professionals, policy makers, media outlets, patients, and the wider public, and we work with you

and your affiliated institutions to maximise the impact of your research on the world. … Lancet

journals have extensive global reach with more than 36.8 million annual visits and 98.8 million

downloaded           articles across   TheLancet.com         and        ScienceDirect.”);       and

https://pubmed.ncbi.nlm.nih.gov/about (“PubMed is a free resource supporting the search and

retrieval of biomedical and life sciences literature with the aim of improving health–both globally

and personally.”).

      17.      Contrary to the Plaintiffs’ intimations, I do not exclusively publish in U.S. medical

journals. A list of publications authored by me and other researchers in non-U.S. journals from

May 2022 to the present includes: (1) Nachega JB, Nsanzimana S, Rawat A, Wilson LA,

Rosenthal PJ, Siedner MJ, et al. Advancing detection and response capacities for emerging and re-

emerging pathogens in Africa. Lancet Infect Dis. 2023;23(5):e185-e9; (2) Smith ER, Oakley E,

Grandner GW, Ferguson K, Farooq F, Afshar Y, et al. Adverse maternal, fetal, and newborn

outcomes among pregnant women with SARS-CoV-2 infection: an individual participant data

meta-analysis. BMJ Glob Health. 2023;8(1): (3) Sam-Agudu NA, Quakyi NK, Masekela R, Zumla

A, Nachega JB. Children and adolescents in African countries should also be vaccinated for



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COVID-19. BMJ Glob Health. 2022;7(2); (4) Reis G, Dos Santos Moreira-Silva EA, Silva DCM,

Thabane L, Milagres AC, Ferreira TS, et al. Effect of early treatment with fluvoxamine on risk of

emergency care and hospitalisation among patients with COVID-19: the TOGETHER

randomised, platform clinical trial. Lancet Glob Health. 2022;10(1):e42-e51; (5) Reis G, Dos

Santos Moreira Silva EA, Medeiros Silva DC, Thabane L, Cruz Milagres A, Ferreira TS, et al.

Effect of early treatment with metformin on risk of emergency care and hospitalization among

patients with COVID-19: The TOGETHER randomized platform clinical trial. Lancet Reg Health

Am. 2022;6:100142; (6) Petersen E, Ntoumi F, Hui DS, Abubakar A, Kramer LD, Obiero C, et al.

Emergence of new SARS-CoV-2 Variant of Concern Omicron (B.1.1.529) - highlights Africa's

research capabilities, but exposes major knowledge gaps, inequities of vaccine distribution,

inadequacies in global COVID-19 response and control efforts. Int J Infect Dis. 2022;114:268-72;

(7) Nsanzimana S, Mills EJ. Estimating HIV incidence in sub-Saharan Africa. Lancet HIV.

2023;10(3):e146-e8; (8) Mills EJ, Reis G. Evaluating COVID-19 vaccines in the real world.

Lancet. 2022;399(10331):1205-6; (9) Nachega JB, Musoke P, Kilmarx PH, Gandhi M, Grinsztejn

B, Pozniak A, et al. Global HIV control: is the glass half empty or half full? Lancet HIV.

2023;10(9):e617-e22; (10) Thorlund K, Smith D, Linsell C, White N, Butler C, Boulware D, et

al. The importance of appropriate selection of clinical endpoints in outpatient COVID-19 clinical

trials. Commun Med (Lond). 2023;3(1):53; (11) Jhuti D, Rawat A, Guo CM, Wilson LA, Mills

EJ, Forrest JI. Interferon Treatments for SARS-CoV-2: Challenges and Opportunities. Infect Dis

Ther. 2022;11(3):953-72; (12) Nachega JB, Scarsi KK, Gandhi M, Scott RK, Mofenson LM,

Archary M, et al. Long-acting antiretrovirals and HIV treatment adherence. Lancet HIV.

2023;10(5):e332-e42; (13) Bepouka B, Situakibanza H, Sangare M, Mandina M, Mayasi N,

Longokolo M, et al. Mortality associated with COVID-19 and hypertension in sub-Saharan Africa.



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A systematic review and meta-analysis. J Clin Hypertens (Greenwich). 2022;24(2):99-105; and

(14) Peer N, Nguyen KA, Hill J, Sumner AE, Cikomola JC, Nachega JB, et al. Prevalence and

influences of diabetes and prediabetes among adults living with HIV in Africa: a systematic review

and meta-analysis. J Int AIDS Soc. 2023;26(3):e26059.

      18.      The Plaintiffs are also incorrect in their assertion that I traveled to the U.S. in May

2022 on behalf of PLS Canada. To clarify, I traveled to the U.S. to receive an award from the

Society of Clinical Trials for McMaster University’s work on the TOGETHER Trial which was

conducted in Brazil commencing in June 2020. As a research professor at McMaster University,

I was one of the lead researchers (along with my colleague, Dr. Gilmar Reis) on the initial

TOGETHER Trial, but PLS Canada itself was not part of the initial TOGETHER Trial (which

commenced prior to prior to the formation of PLS Canada). Attached as Exhibit I hereto is an

article regarding the TOGETHER Trial being conducted by McMaster University

(https://brighterworld.mcmaster.ca/articles/mcmaster-researchers-leading-international-study-to-

test-three-widely-available-drugs-for-early-covid-19-treatment).

      19.      Plaintiffs are also incorrect in their assertion that PLS Canada is funded by U.S.

entities. Funding for the initial TOGETHER Trial (sponsored by the Bill & Melinda Gates

Foundation, FastGrants and Rainwater Charitable Foundation) was provided to McMaster

University, not to PLS Canada.

      20.      The funding that PLS Canada received was for the expansion of the initial

TOGETHER Trial in Brazil and into Canada and other non-U.S. developing nations (Rwanda,

South Africa, Pakistan and the Bahamas). This funding for the development of non-U.S. clinical

trial sites that is being undertaken by PLS Canada came from non-U.S. companies,

Latona/Plaintiffs.



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       21.     PLS Canada’s partnership with GreenLight Biosciences is to provide support for

their clinical trial in Rwanda.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to the best of my

knowledge, information and belief, the foregoing is true and correct.

Dated: October 6, 2023
Vancouver, British Columbia, Canada

                                                            /s/ Dr. Edward J. Mills________
                                                            Dr. Edward J. Mills, Ph.D., FRCP
                                                            Chief Executive Officer, Platform
                                                            Life Sciences, Inc., a Canadian
                                                            corporation




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